Case 2:23-cv-02848-KJM-AC Document 9-2 Filed 01/18/24 Page 1 of 30




       Exhibit 1
   Jassy Declaration
11/8/23, 1:34 PM                                        Louisiana officials skirted a law meant to curb campus sex crimes.

                    Case 2:23-cv-02848-KJM-AC Document 9-2 Filed 01/18/24 Page 2 of 30
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     Six won1en reported a Louisiana college
      student for sexual n1isconduct. No one
                connected the dots.
                                                        Kenny Jacoby
https://www.usatoday.com/in-depth/news/investigations/2021/05/26/louisiana-officials-skirted-law-meant-curb-campus-sex-crimes/7048845002/             1/29
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                                   Published 2:30 AM PDT May. 26, 2021 I Updated 10:16 AM PDT May. 26, 2021



                             ILLUSTRATION: SPENCER HOLLADAY, USA TODAY NETWORK AND GETTY IMAGES




     I
                   n 2015, a Louisiana State University freshman transferred schools weeks after he was
                   accused of sexual assault. LSU did not disclose the allegation to his new school, even
                   after learning of his arrest for allegedly assaulting a second woman months later.

    The same year, the University of Louisiana at Lafayette placed a student arrested for sexual
    assault on probation, letting him stay on campus so long as he stayed out of trouble. Over his
    next three years there, three women reported him to the Lafayette Police Department for sex
    crimes, but the police never informed the school, despite an agreement that required it.

    In 2018, Louisiana Tech University declined to investigate a woman's sexual assault report
    because the alleged perpetrator dropped out of the school three days after she reported it. The
    university said nothing to the school he transferred to the next month.

    In each case, the institutions failed to share relevant information with each other, leaving
    women on their campuses without warning and potentially at risk.

    The cases also share another common thread. They all involved the same accused student:
    Victor Daniel Silva.




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    Victor Daniel Silva has never been charged with a sex crime, but at least six women reported him to
    police for sexual misconduct during his six years in college at three of Louisiana's largest public
    universities. He was arrested once in 2015, but prosecutors did not move forward with the case.
    PHOTO PROVIDED BY DRAKE BERGERON


    Silva, who did not respond to requests for comment for this story and hung up the phone on a
    reporter, has never been charged with a sex crime. He was arrested once but prosecutors did
    not move forward with the case. He has told police and others the allegations against him are
    false.

    His case, however, illustrates how universities continue to struggle with the most basic
    response to sexual assault allegations. Over and over when women came forward about Silva,
    college officials and police didn't communicate, didn't convey critical information, and didn't
    connect the dots on a pattern that might have shaped how they pursued the allegations.

    This was supposed to have changed in Louisiana. Six years ago, in response to a reckoning
    over the handling of sexual assault cases across the state, Louisiana legislators enacted a
    sweeping new law designed to root out predators on college campuses.

    Known as Act 172, the law required universities and local law enforcement agencies to alert
    each other to reports of alleged sex crimes involving students in their areas. It ordered
    colleges to block students from transferring schools during sex-offense investigations, and to
    disclose any resulting disciplinary actions to incoming schools.

    Police and universities at the time already had a mandate to investigate campus sexual
    misconduct. The 2015 law was supposed to make that job easier by ensuring everyone had
    information about accused students who otherwise might have slipped through the cracks.




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                    Case 2:23-cv-02848-KJM-AC Document 9-2 Filed 01/18/24 Page 6 of 30




    Protesters gather and march on LSU campus in reaction to the way school officials mishandled
    sexual misconduct allegations against students, including top athletes. November 20, 2020.
    SCOTT CLAUSE, USA TODAY NETWORK


    But one by one, the people in charge of protecting students at three of the state's largest
    public universities either failed to comply with its provisions or found loopholes to avoid
    them, according to a USA TODAY investigation based on a review of case files, a trove of
    documents, emails and other public records, and interviews with current and former
    prosecutors, police officers, lawmakers, university officials and seven women who alleged
    sexual assaults.

    Because officials failed to communicate with each other, they viewed nearly every allegation
    against Silva as an isolated incident in an otherwise clean record. They closed every case
    against him without a finding of fault, sometimes without investigating, with no interruption
    to his education.
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11/8/23, 1:34 PM                                        Louisiana officials skirted a law meant to curb campus sex crimes.
                    Case 2:23-cv-02848-KJM-AC Document 9-2 Filed 01/18/24 Page 7 of 30




    Their failures show how the mishandling of sexual misconduct allegations extends beyond
    just the state's flagship university, LSU, which has come under fire after investigative
    reporting by USA TODAY found school officials covered UP. reP.orts of rap~, domestic violence
    and harassment and botched investigations under Title IX, the federal law prohibiting sex
    discrimination in education.

    "It is impressively embarrassing to our state," said J.P. Morrell, an attorney and former state
    senator who sponsored Act 172. "At best, it is a complete, callous disregard for what victims
    are going through - and not just what they're going through, but what the future victims will
    go through, as these predators find new victims.

    "At worst, it's almost malicious."

    Officials at LSU, UL Lafayette and Louisiana Tech denied wrongdoing, saying they complied
    with all laws and policies at the time.


    At best, it is a complete, callous disregard for
    what victims are going through - and not just
    what they're going through, but what the future
    victims will go through, as these predators find
    new victims.
    J.P. Morrell, an attorney and former state senator

            TWEET                     FACEBOOK                      REDDIT                       SHARE




    Top brass at the Lafayette Police Department, including the chief, ignored at least nine emails
    and phone messages seeking comment. Jamie Angelle, a spokesperson for the city of
    Lafayette, emailed a statement saying the police agency's agreement with UL Lafayette, which
    is mandatory under Act 172, did not require it to inform the school of "unsubstantiated
    allegations."

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                                                                                    Coordinator ...
    of any report of a sexually oriented criminal offense that may have occurred on its campus or
    involved a student as a victim or an accused."

    Morrell and another former lawmaker who wrote the 2015 state law - Helena Moreno, who
    currently serves as New Orleans' City Council president - told USA TODAY the requirements
    were clear.

    The schools and law enforcement, they said, simply didn't follow them.




    An oppressive heat baked the UL Lafayette campus the afternoon of June 22, 2015.

    It was a Monday, and Carl Tapo sat in his office on the first floor of Buchanan Hall, a low-
    slung, red-brick structure across the street from a two-acre swamp - the nation's only
    managed wetland on a college campus. Tapo, then a 62-year-old assistant dean of students,
    had an appointment with Silva, a recently transferred student who got into trouble.




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    Victor Silva spent most of his college career at the University of Louisiana at Lafayette. He
    transferred from Louisiana State University to UL Lafayette, then to Louisiana Tech University, then
    back to UL Lafayette.
    KENNY JACOBY, USA TODAY


    What Tapo knew about him was this: Silva, a freshman, arrived at UL Lafayette that January
    after a semester at LSU. Just over two months after his transfer, following a visit to friends at
    his old school, LSU campus police arrested Silva on a charge of second-degree rape.

    According to the police report, after a night of drinking at a popular bar near the Baton Rouge
    campus that March, an LSU student who'd known Silva from the previous semester let him
    into her dorm room. Shortly afterward, the report said, Silva used his bodyweight to hold
    down the woman as he raped her at least three times over the span of three hours.

    LSU police got a warrant for Silva's arrest on April 1, 2015, and booked him in the parish
    prison. His mugshot made the local news and the rounds on social media among students at



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    administrator as a courtesy.

    But in the two-and-a-half months between Silva's arrest and his meeting with Tapo, the case
    seemed to have fizzled.


             force himself on her Sliva stated she was willing and was kissing him and he did not think there was a problem After
             additional quesboning, Silva ultimately admitted that Ms ■■- did tell him she didn1 want to have sex and that she wanted
             to go to sleep but that he was persistent In his efforts to have sex with her Sliva stated that he sUII dldn1 reel hke he had sex
             against her will but that he did have to talk her into having sex and she did say she was bred \Mien Silva was questioned
             aboul the phone call Ms -             made he could not answer reasonably why he apologlzed to her or wtiy he randomly asked
             her if she called the Police""or"'iT" was gomg to do anything about it




    A police report detailing Louisiana State University police detectives' interrogation of Victor Silva
    following his arrest for second-degree rape in April 2015.
    LSU POLICE DEPARTMENT


    The East Baton Rouge District Attorney's Office had not filed charges. LSU hadn't reached out
    again to Tapo with an update. No one at UL Lafayette had heard from the alleged victim, who,
    even as an LSU student, could have filed a Title IX complaint against Silva at his new
    university.

    And as far as Tapo knew, Silva, who denied the allegations, had never been accused before.

    Tapo went easy on Silva. He placed the 19-year-old on disciplinary probation for two years
    and ordered him to attend behavior management sessions at the school health center.

    What Tapo didn't know was this: Two months into Silva's first semester at LSU, a different
    LSU student he'd met in an English class accused him of rape.

    Because the incident happened in Lafayette, the woman reported it to Lafayette police. Police
    notified LSU a day later.




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    Protesters gather and march on LSU campus in reaction to the way school officials mishandled
    sexual misconduct allegations against students, including top athletes. November 20, 2020.
    SCOTT CLAUSE, USA TODAY NETWORK


    LSU, which had no full-time Title IX employees at the time, launched an investigation into
    the woman's complaint. It sided with Silva, according to case records obtained by USA
    TODAY via public records request. He faced no discipline.

    The District Attorney's Office for the 15th Judicial District Court, which serves Lafayette
    Parish, also declined to file charges against Silva in the case, citing a lack of evidence, records
    show.

    Because LSU cleared Silva of wrongdoing, administrators did not notify UL Lafayette of the
    allegation when Silva transferred there at the end of the semester, vice president of
    communications Jim Sabourin told USA TODAY. They had "no reason to" do so, Sabourin
    said, nor did any policy or law require it.

    But LSU did share information about Silva's April 2015 arrest.

    According to emails obtained by USA TODAY through public records requests, upon learning
    of the second rape allegation, LSU officials described Silva as a "frequent flyer" whose name

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    Silva from campus, emails show. But when they notified UL Lafayette about his arrest, they
    still made no mention of the prior allegation.


               From:                Matt Greaorv
               To:                  Kathleen CWhite
               Subject:             RE: Title JX Updates
               Date:                Thursday, April 02, 2015 8:29:41 AM
               Attachn1ents:        1roaae002.ona
                                    iroaaeOQ3.pna

               Yes, quite the history. Currently on Deferred Suspension through 5/13/16. Possibly not currently
                enrolled .
               MG
               From: Kathleen C White
               Sent: Thursday, April 02, 2015 8:27 AM
               To: Matt Gregory
               S bject: FW: Title IX Updates
               Victor Silva .... frequent flier?
               K.C. White, Ed.D.
               Louisiana State University
               Associate Vice President and Dean of Students




    Officials in Louisiana State University's dean of students office recognized Victor Silva as a
    "frequent flier" with a history of conduct issues after his arrest for the alleged rape of an LSU
    student in April 2015. Six months earlier, LSU investigated a different LSU student's sexual assault
    allegation against Silva.
    LSU


    As a result, the report that prompted Silva's arrest appeared to UL Lafayette as a first-time
    accusation.

    One day after Tapo's meeting with Silva, Louisiana's then-Gov. Bobby Jindal signed Act 172
    into law, along with three other bills designed to protect survivors.

    "I'm proud to sign these crucial pieces of legislation into law that support and empower
    victims of sexual assault," Jindal said in a press release at the time.

    Jindal, a Republican, announced his candidacy for president the next day.




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                                                            LSU mishandled sexual misconduct
                                                            complaints against students,
                                                            including top athletes

                                                                       Read more




    In an email to USA TODAY, UL Lafayette associate vice president of communications
    Jennifer Stephens said the university "took appropriate actions according to what it knew at
    the time and within the confines of existing state law and federal guidance."

    In addition, Stephens said, U.S. Department of Education guidance at the time specifically
    addressed how schools should respond to students' sexual assault complaints when the
    alleged perpetrator is not affiliated with the school: "The home school should notify the
    student of any right to file a complaint with the alleged perpetrator's school or local law
    enforcement."

    But Mayumi Dickerson, the woman who reported Silva, said in an interview with USA
    TODAY that LSU never informed her of her right to file a complaint against him at UL
    Lafayette. Had she known it was possible, she said, she would have done it.




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    Mayumi Dickerson was a freshman at Louisiana State University when she filed a police reporting
    saying Victor Silva sexually assaulted her in March 2015. The report resulted in his arrest, but
    prosecutors did not charge Silva with a crime.
    DUSTIN CHAMBERS FOR USA TODAY


    It is USA TODAY's policy not to publish the names of people who allege sexual assault
    without their permission. Dickerson and two others chose to use their full names.

    The same month that UL Lafayette placed Silva on probation, LSU expelled Dickerson
    because her grades had plummeted.

    The scholastic drop was unrelated to her sexual assault allegation, according to Sabourin,
    who said the university took a series of academic actions against Dickerson starting before the
    incident.

    LSU ultimately allowed Dickerson back in, after she filed a U.S. Department of Education
    complaint alleging the school violated her rights under Title IX. Her complaint prompted a
    sex-discrimination investigation into the school by the department's Office for Civil Rights.




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    My college experience has been 100% altered
    because of him and everything that I've been
    through. I get super nervous just walking on a
    college campus. I'm still working toward my
    undergrad degree. He got to have those
    experiences that he stripped me of.
    Mayumi Dickerson


            TWEET                     FACEBOOK                      REDDIT                       SHARE




    But Dickerson had developed post-traumatic stress disorder and become terrified to set foot
    on campus, she said, in part because Silva's friends at LSU had harassed her on campus and
    pressured her to drop the charges. She left LSU a year later.

    Neither university's Title IX office investigated Dickerson's complaint.

    "My college experience has been 100% altered because of him and everything that I've been
    through," Dickerson said. "I get super nervous just walking on a college campus. I'm still
    working toward my undergrad degree. He got to have those experiences that he stripped me
    of."




    Tapo's decision to place Silva on probation allowed him to continue his coursework at UL
    Lafayette without interruption - so long as he stayed out of trouble.

    Silva attended his mandatory counseling that July, school records show. The same month, he
    started a research assistantship with a chemistry professor, designing processes to extract oil
    from the Gulf of Mexico, according to his resume. That August, he started a side job through a
    university program tutoring high school students.

    Silva remained enrolled at UL Lafayette for the next three years, attendance records show.
    During that time, the school received no reports of sexual misconduct allegations against
    Silva, Stephens said.

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    Victor Silva spent most of his six years in college at the University of Louisiana at Lafayette. From
    2014 through 2020, at least eight women accused of him of sexual assault or exploitation.
    KENNY JACOBY, USA TODAY


    As far as university officials knew, Silva had completed his probation without issue.

    But unbenknowst to school officials, at least three women had reported Silva to the Lafayette
    Police Department for sex crimes during that time. One of them was a UL Lafayette student
    whom Silva had tutored through the school program.

    None of the three reports was shared with the university.

    Under Act 172, each Louisiana university was required to enter into a memorandum of
    understanding with the law enforcement agencies in their surrounding areas, outlining
    protocols for investigating and notifying each other about alleged sex crimes involving
    students.



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    Coordinator, to the extent we are able with respect to any confidentiality requirements, of any
    report of a sexually oriented criminal offense that may have occurred on its campus or
    involved a student as a victim or an accused," according to a copy obtained via a public
    records request.

    Yet for each of the three reports against Silva, LPD officers ignored the requirement.


         The L fayettc Polle~ Dep rtment agrees to:
                   -
                   Notify UL Lafayette's Title IX Coordinator, to the extent we are able with respect to any
                   confidentiality requirements, of any report of a sexually oriented criminal offense that moy
                   have occurrec.1 on its campus or involved a student as a victim or an accused;
                   Coordinate investigations, to the extent thnt we urc able without hampering or jeopurdizing
                   our own investigntion1 to assure that any reported incident involving sexually-oriented
                   criminal offenses that may have occurred on its campus or involved a student as a vie1im
                   or an accused is fully investigated~


    A memorandum of understanding required under a 2015 state law, known as Act 172, required the
    Lafayette Police Department to alert the University of Louisiana at Lafayette about "any report" of a
    sex offense involving a student and coord inate their investigations.
    UNIVERSITY OF LOUISIANA AT LAFAYETTE


    The first came in November 2016, while Silva was still on probation. According to the police
    report, a local community college student who had met Silva on a dating app a year earlier
    said he was now trying to blackmail her.

    The woman, who spoke to USA TODAY, told police she and Silva had consensual sex about a
    year earlier. Then, out of the blue, he sent her a video of the encounter that he had apparently
    had recorded without her knowledge. When she told him to delete it, he said he would - in
    exchange for nude photographs.

    The woman immediately called LPD and talked to Officer Jonathan Richard, the report
    shows. She told Richard she would forego criminal charges if Silva would delete the video.
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    Richard then called Silva, who agreed on the phone to delete it, according to the report.
    Richard closed the case.

    Although the memorandum required LPD to notify UL Lafayette about the incident, LPD did
    not sign the agreement until two months after the report, in January 2017 - more than a year
    after Act 172 took effect.

    Even after signing it, the police department failed to share at least two more accusations
    against Silva with the university.

    Both of those cases, records show, were assigned to Detective James Gayle.

    Gayle first met Silva on June 8, 2018. They sat across from each other in a small interview
    room at the police station to discuss a sexual assault report made against him that April by a
    fellow UL Lafayette student. Seated next to Silva was his criminal defense attorney, Josh
    Guillory, who was elected mayor-president of Lafayette the following year - a position he
    holds today.




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    Lafayette Police Department received four complaints against Victor Silva for sex crimes over four
    years. Three women accused him of sexual assault, and another woman said he tried to blackmail
    her after secretly recording a video of them having consensual sex.
    KENNY JACOBY, USA TODAY


    According to the April 2018 police report against Silva, the student met him in 2016 through
    the tutoring program he worked for at UL Lafayette. The first time they hung out, she told
    police, he groped her and vaginally penetrated her against her will. She decided to report it
    two years later, when she learned of other allegations against him that had been posted on
    social media.

    Gayle read Silva his Miranda rights and asked him what happened that day. Silva denied the
    allegation and said the encounter was consensual.

    After 20 minutes, Gayle ended the interview. He told Silva he'd send the case to the 15th
    Judicial District Attorney's office for a charging decision.

    The district attorney's office also was a party to the memorandum. It, too, was required to
    notify UL Lafayette of "any report" of a sex offense involving a student as a victim or suspect,
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    But neither the district attorney's office nor LPD did so.

    Less than two months later, a second UL Lafayette student reported Silva to LPD. Andie
    Richard-Bonano said Silva sexually assaulted her in 2010, when they were 14, on the morning
    of their freshman orientation at St. Thomas More Catholic High School.




    Andie Richard-Bonano, a former student at University of Louisiana at Lafayette, filed a report with
    Lafayette police in August 2018 saying Victor Silva sexually assaulted her in 2010. At the time of
    the alleged assault, both Richard-Bonano and Silva were freshmen at a local high school.
    ROSS TAYLOR FOR USA TODAY


    Richard-Bonano, who spoke to USA TODAY, had disclosed her alleged assault by Silva on
    social media for the first time two years earlier. She did so after seeing another woman,
    Carolina Chauffe, post on Facebook that Silva had sexually assaulted her the same year, when
    she was 12.

    "I was ready to have it on record that this man is a monster and has hurt people before and
    will continue to do it," Richard-Bonano told USA TODAY.



https://www.usatoday.com/in-depth/news/investigations/2021/05/26/louisiana-officials-skirted-law-meant-curb-campus-sex-crimes/7048845002/   19/29
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    Richard-Bonano                           Document
                     said she remembered Gayle            9-2
                                                    telling herFiled
                                                                that 01/18/24  Pageprobably
                                                                     her complaint   21 of 30 would

    not lead to charges, but that it may be useful to establish a pattern if other victims came
    forward.

    Richard-Bonano was at least the fifth person to report Silva to police for a sex crime by that
    time, and the fourth to report him to LPD.




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    It's unclear what Gayle did with her report. LPD refused to provide it in response to public
    records requests by both USA TODAY and Richard-Bonano, citing that she and Silva were
    minors at the time of the alleged crime. It said it would provide the report if she signed a non-
    disclosure agreement promising not to share its contents with anyone. She declined.

    USA TODAY made at least nine attempts to reach LPD Chief Thomas Glover, Gayle and four
    sergeants, including public information officer Wayne Griffin, for comment. None
    responded.

    "It would be improper, if not unlawful, to report unsubstantiated allegations, which by
    definition do not fall within the scope of the MOU," said Angelle, a spokesperson for the city
    of Lafayette, in an emailed statement to USA TODAY.

    Angelle also sent a statement on behalf of Guillory, the current mayor who represented Silva
    in not only the April 2018 case, but also in the October 2014 case from his first semester at
    LSU.

    "At the request of his parents, I attended two interviews with Mr. Silva," Guillory's statement
    said. "He was not charged in either instance, and did not further require legal
    representation."
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    This MOU process was specifically put together
    for this reason, so that the university would
    know if they had some type of serious situation
    on their hands. I mean, my God, you have a
    potential serial rapist on your campus? The
    campus should be alerted.
    Helena Moreno, New Orleans' City Council president


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    Alan Haney, an assistant district attorney for the 15th Judicial District, said he believed his
    office complied with Act 172 but did not dispute that it did not notify UL Lafayette of the
    allegations.

    The memorandum of understanding is unequivocal, said Moreno, the former state
    representative who co-authored Act 172 and reviewed the agreement. It states both LPD and
    the district attorney's office must share "any report" of a sexually oriented criminal offense
    with UL Lafayette's Title IX coordinator.

    The police agency and the district attorney's office, Moreno said, clearly violated it.

    "This MOU process was specifically put together for this reason, so that the university would
    know if they had some type of serious situation on their hands," Moreno said. "I mean, my
    God, you have a potential serial rapist on your campus? The campus should be alerted."




    In September 2018, just weeks after the latest police report, Silva transferred to Louisiana
    Tech University in Ruston, a rural town of 22,000 in the northern part of the state.

    He arrived with a clean record.

    Although the law requires universities to "communicate with each other regarding transfer of
    students against whom disciplinary action has been taken as a result of a code of conduct

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    violation relating                        Document
                       to sexually-oriented criminal    9-2 Filed
                                                     offenses," UL01/18/24
                                                                   LafayettePage 23 notify
                                                                            did not of 30 Tech

    about Silva's probation from his arrest for rape.




                                                  RUSTON POLICE




    Ruston Police Department handled an investigation of Victor Silva following a Louisiana Tech
    University student's December 2018 report of sexual assault. Louisiana Tech is located in Ruston.
    KENNY JACOBY, USA TODAY


    That's because of a technicality involving the timing of Silva's discipline.

    Act 172 specifically directed Louisiana's Board of Regents, which oversees the state's public
    universities, to adopt a policy mandating such communication. It did so in August 2015 - two
    months after UL Lafayette placed Silva on probation.

    Because the board policy had not yet taken effect at the time of the discipline, Stephens told
    USA TODAY, the university did not flag Silva's conduct record and was not required to notify
    Tech when he transferred there three years later.

    Additionally, Stephens said, because Silva completed the probation prior to his transfer, there
    was no disciplinary hold on his transcript.

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              Case 2:23-cv-02848-KJM-AC
    Stephens insisted                       Document
                      that UL Lafayette violated      9-2or Filed
                                                 no laws          01/18/24 Page 24 of 30
                                                            policies.


                      (6) Inter-campus transfer policy. (a) The Board of Regents' Uniform Policy on Sexual Assault shall
              require that institutions communicate with each other regarding transfer of students against whom
              disciplinary action has been taken as a result of a code of conduct violation relating to sexually-oriented
              criminal offenses.
                      (b) The Board of Regents' Uniform Policy on Sexual Assault shall require that institutions withhold
              transcripts of students seeking a transfer with pending disciplinary action relative to sexually-oriented
              criminal offenses, until such investigation and adjudication is complete.
                      Acts 2015, No. 172, § 1, eff. June 23, 2015 .



    A Louisiana law enacted in 20 15, known as Act 172, directed universities to prevent students from
    transferring schools during an investigation into a sex offense, and to commun icate any resulting
    disciplinary action to the incoming school.
    LOUISIANA STATE LEGISLATURE


    "That said, the University recognizes opportunities to strengthen processes and procedures
    related to student transfers and the reporting of student disciplinary issues," she said in an
    email, adding that school officials are currently helping the legislature develop new laws on
    these issues. "We also strongly reiterate that the University takes all accusations of sexual
    assault seriously and recognizes the accusations made against Mr. Silva were serious."

    Silva's time at Tech lasted just three months.

    In December of that year, a fellow Tech student filed a report with the school's Title IX office
    and campus police department alleging that Silva had sexually assaulted her in his apartment
    three months earlier - less than two weeks after he enrolled - while she was unconscious
    from drinking alcohol, police reports show.

    Because the incident happened off-campus, Tech police referred it to the Ruston Police
    Department, which interviewed the woman the same day, records show. RPD later referred
    the case to the Third Judicial District Attorney's Office, which serves Ruston. It declined to
    charge Silva.

    The week after the woman reported the incident, Tech associate vice president for student
    advancement Dickie Crawford called her into a meeting, where she told her the university
    would not be investigating her case, the woman told USA TODAY.




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    Victor Silva transferred to Louisiana Tech University in September 2018. Two weeks into the fall
    term, a student accused Silva of sexually assaulting her. Silva withdrew from the school three days
    after she reported the incident to school officials and police that December.
    KENNY JACOBY, USA TODAY


    Silva had withdrawn from the university three days after she filed the report. As a result,
    Crawford told the woman, Tech no longer had jurisdiction to punish him.

    Silva transferred back to UL Lafayette the next month.

    Act 172 required universities to prevent students accused of sex offenses from transferring
    schools to avoid an investigation or punishment. Specifically, the policy the board adopted to
    comply with the law said, "If a student accused of a sexually-oriented criminal offense seeks
    to transfer to another institution during an investigation, the institution shall withhold the
    student's transcript until such investigation or adjudication is complete and a final decision
    has been made."

    Yet Tech did not withhold Silva's transcript or notify UL Lafayette of the allegation.
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    AccordingCase  2:23-cv-02848-KJM-AC
              to Tech                        Document
                      attorney Justin Kavalir,         9-2 Filed
                                               Silva withdrew    01/18/24
                                                               from         Page 26so
                                                                     the university  ofquickly
                                                                                        30     after
    the woman's report that it didn't have time to begin an investigation. As a result, because
    there was no pending disciplinary case against him, the policy did not apply, Kavalir said.

    Morell and Moreno, the two former state lawmakers who co-authored Act 172, were incensed
    by Tech's failure to pursue an investigation into Silva.


    The situation you're describing is literally
    finding a loophole in the law to avoid
    protecting sexual assault victims and exploiting
    it. That's really offensive. It's offensive, and it's
    just - it makes me nauseous.
    J.P. Morrell, an attorney and former state senator

            TWEET                     FACEBOOK                      REDDIT                       SHARE




    "That's literally what that section of the law was supposed to address, that you don't get to
    skip town and not have an investigation," Morrell said. "The situation you're describing is
    literally finding a loophole in the law to avoid protecting sexual assault victims and exploiting
    it. That's really offensive. It's offensive, and it's just - it makes me nauseous."

    The requirements of Act 172 are clear, Moreno said. What is lacking in the law, she said, is
    oversight for the universities that continually find excuses not to follow it.

    "It just appears that everyone does what they want to do anyway, and laws are ignored, and
    backs are turned, and tracks are covered," Moreno said. "Unfortunately, it's the victims who
    are left without any real help.

    "And unfortunately, if this isn't really corrected, and this isn't really prioritized, nothing's
    going to change, and there are going to be more victims."




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    Silva strode    2:23-cv-02848-KJM-AC
                 across                         Document
                        the artificial turf of Cajun Field,9-2
                                                            the Filed 01/18/24football
                                                                UL Lafayette    Page 27  of 30 on the
                                                                                       stadium,
    evening of Aug. 7, 2020, in a vermilion cap and gown.

    With the dean of the College of Engineering standing behind him, he smiled for a photo,
    holding his bachelor's degree in chemical engineering against his chest.

    As he walked off the field at the end of the ceremony, Silva looked to the bleachers and waved
    to the crowd.

    Over his six years in college, at least six women at three universities had reported him for
    alleged sexual offenses to four police agencies across three parishes. He had been banned
    from LSU's campus, arrested but not prosecuted, and placed on probation by UL Lafayette.
    But Silva never missed a semester of classes.

    Other than his 2015 arrest, UL Lafayette was unaware of any other allegations against him,
    Stephens told USA TODAY. The university received no complaints against Silva in his first
    three years as a student, nor his last year and a half.

    But his final days at UL Lafayette were not without incident.

    In the spring of 2020, Silva began dating Nicole Pellegrin, a fellow chemical engineering
    student who shared classes with him and spoke to USA TODAY. She went into the
    relationship wary, she said, after reading a news article about his 2015 arrest and seeing other
    allegations on social media. But he told her he'd been falsely accused and never convicted,
    and she gave him the benefit of the doubt.




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    Nicole Pellegrin (left) dated Victor Silva (right) for just under a year until January 2021. They met at
    the University of Louisiana at Lafayette, where they studied chemical engineering.
    COURTESY OF NICOLE PELLEGRIN


    Two days before the graduation ceremony that August, Pellegrin invited her longtime best
    friend to have dinner with her and Silva. The friend, an LSU student who spoke to USA
    TODAY, said she had been unaware of the allegations against him.

    After a night of drinking, the friend stayed the night in Pellegrin's guest bedroom. At around s
    a.m., she said, she woke up to find Silva curled up in bed with her. His body was pressed up
    against hers, she said, and he was erect. His arms were wrapped around her, and his hands
    were under her shirt, fondling her breasts.

    It took a few seconds to process what was happening, the friend said, before she pushed Silva
    off. He acted like he didn't know where he was, she said - like he'd accidentally fallen asleep
    in the wrong bed.




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    The friendCase  2:23-cv-02848-KJM-AC
               told Pellegrin what happenedDocument
                                            later that 9-2 Filed 01/18/24
                                                       morning,             Page
                                                                 she said, but   29 of 30did not
                                                                               Pellegrin
    believe it at first. Because he sometimes slept in the guest room, Pellegrin took Silva's word
    that it was a drunken mistake.


    He's great at pretending, and he needs to be
    held accountable. I should have stood by my
    friend.
    Nicole Pellegrin


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    This strained the women's eight-year friendship, they told USA TODAY. Losing that is
    "sometimes harder than what actually happened to me," the friend said.

    Pellegrin said she now believes the women who've accused Silva and regrets letting him
    manipulate her.

    "I did really love him a lot," Pellegrin said. "But the person I loved is not the person he
    actually is. It never was. He's great at pretending, and he needs to be held accountable. I
    should have stood by my friend."

    After Googling Silva and learning about other allegations against him, the friend strongly
    considered pursuing a criminal case, she said.

    Her father hired a private investigator to look into Silva's past, documents she shared with
    USA TODAY show. She consulted with her stepmom, who's a lawyer, and a New Orleans
    prosecutor with whom her family was close. They warned her a trial would likely be
    retraumatizing, she said, and the chances of a conviction slim.

    The friend ultimately decided not to report Silva. She didn't see the point.

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